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                                                        UNITED STATES DISTRICT COURT
                                                                  DISTRICT OF CONNECTICUT



                                  450 Main Street                    141 Church Street                 915 Lafayette Boulevard
                                  Hartford, CT 06103                 New Haven, CT 06510               Bridgeport, CT 06604
                                  Phone: 860.240.3200                Phone: 203.773.2140               Phone: 203.579.5861
                                  Fax: 860.240.3211                  Fax: 203.773.2334                 Fax: 203.579.5867



                                  June 5, 2013
          Robin D. Tabora
                      Clerk


    Dinah Milton Kinney
                                  Jeffrey C. Pingpank
          Chief Deputy Clerk      Cooney, Scully & Dowling
                                  Hartford Square North, 10 Columbus Blvd .
            Jane R. Bauer         Hartford, CT 06106-5109
           Operations Manager


           Andrea Perce
    Human Resources Manager
                                  Dear Attorney Jeffrey C. Pingpank       =

      Christopher Newton
Information Technology Manager    RE:       Case Name:         5vege v. Mercedes-Benz Credit, et all
                                            Case Number:       3:01 cv1771 (MRK)
          Melissa Ruocco
     Division Manager, Hartford
                                  As the above matter has concluded in this court:
             Bryan Blough
   Division Manager, Bridgeport   The Plaintiff's Exhibit(s) is/are too bulky to send through the mail.

                                  Please call the undersigned, between the hours of 9:00 A.M. and 4:00 P.M. to
                                  arrange for the Exhibit(s) to be picked up.

                                  If they are not picked up by 6/14/2013, they will be destroyed pursuant to Local
                                  Rule 83.6(e).

                                  Thank you for your cooperation.

                                  Sincerely,

                                  ROBIN D. TABORA, CLERK


                                  By _________________
                                         Jazmin Perez
                                         Deputy Clerk
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       ACKNOWLEDGEMENT: ____________ DATE: ______
